 Case 8:20-cv-00162-MSS-AAS Document 1 Filed 01/22/20 Page 1 of 15 PageID 1



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

                                           CASE NO:
MELODEE MICHALARES-OWENS,
    Plaintiff,

vs.

TASTE OF PUNJAB INDIAN CUISINE, INC.; and
LEMPIDAKIS FAMILY ENTERPRISES, LTD.; and
E.N.M. FAMILY HOLDINGS, INC., jointly and
severally, and Unknown Defendant #1 and
Unknown Defendant #2,
        Defendants.
________________________________/

                         COMPLAINT FOR INJUNCTIVE RELIEF

                      JURISDICTION/VENUE/PARTIES/DEMANDS

      1.   This is an action for injunctive relief pursuant to Title III of the Americans with

           Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), 28 U.S.C. §1331, and 28 C.F.R.

           §36.201 (“ADAAG”) to prevent discrimination which includes equal access to

           Defendants’ place of public accommodation.

      2.   Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has original jurisdiction

           over actions that arise from the Defendant’s violations of Title III of the Americans

           with Disabilities Act, 42 U.S.C. § 12181, et seq. See also 28 U.S.C. §§ 2201 and 2202.

      3.   Venue is proper in the Middle District of Florida pursuant to 28 U.S.C. § 1391 because

           it is where the Defendant resides; where the cause of action accrued; and it is the situs

           of the property that is the subject of this action. Assignment to the Tampa Division is

           appropriate pursuant to Rule 1.02 of the Local Rules of the United States District Court,

           Middle District of Florida, because it is the county having the greatest nexus with the



                                                 1
Case 8:20-cv-00162-MSS-AAS Document 1 Filed 01/22/20 Page 2 of 15 PageID 2



       action, with due regard to the where the cause of action accrued and the situs of the

       subject property.

  4.   Plaintiff, MELODEE MICHALARES-OWENS, resides in Pinellas County, Florida, is

       sui juris and qualifies as an individual with disabilities as defined by the ADA. Plaintiff,

       as a result of arthritis in critical joints, is unable to engage in the major life activity of

       walking more than a few steps or standing without assistive devices. Instead, Plaintiff

       is bound to ambulate with a cane or other support and has limited use of her hands. She

       is unable to tightly grasp or pinch, or twist her wrist to operate turning door hardware

       or spigots. When ambulating beyond the comfort of her own home, Plaintiff must

       primarily rely on a Rollator or cane. Plaintiff requires accessible handicap parking

       spaces located closest to the entrances of a facility. The handicap and access aisles must

       be of sufficient width so that she can embark and disembark to and from her vehicle.

       Routes connecting the handicap spaces and all features, goods and services of a facility

       must be level, properly sloped, sufficiently wide and without cracks, holes or other

       hazards that can pose a danger of tipping, catching wheels, cane, or falling. These areas

       must be free of obstructions or unsecured carpeting that make passage either more

       difficult or impossible. Amenities must be sufficiently lowered so that Plaintiff can

       reach them or use them as support while writing or using card devises. She has

       difficulty operating turning door knobs, sink faucets, locks or other operating

       mechanisms that require tight grasping, twisting of the wrist or pinching. Sinks that

       have unwrapped pipes pose a danger of scraping or burning her legs. She requires grab

       bars both behind and beside a commode so that she can safely transfer to and from the




                                               2
Case 8:20-cv-00162-MSS-AAS Document 1 Filed 01/22/20 Page 3 of 15 PageID 3



        seat, and she has difficulty reaching the flush control if it is on the wrong side. She

        cannot pass doorways that lack the proper clearance.

  5.    Plaintiff is a consumer who frequents businesses in the Tampa Bay Area.

  6.    When she travels throughout the Tampa Bay area, Plaintiff has and will continue to

        avail herself of public accommodations. Plaintiff’s attorneys, friends and medical

        providers are located in the Tampa Bay area which she frequents often and on a

        constant basis.

  7.    Plaintiff is an advocate of the rights of similarly situated disabled persons and is

        otherwise a “tester” for the purpose of asserting her civil rights and monitoring,

        ensuring, and determining whether places of public accommodation are in compliance

        with the ADA.

  8.    According to the Property Appraiser Record, Defendant LEMPIDAKIS FAMILY

        ENTERPRISES LTD (“Defendant”) owns or operates a place of public

        accommodation as defined by the ADA and the regulations implementing the ADA, 28

        C.F.R. 36.201(a) and 36.104, located at 10625 117th Drive N., Largo, Florida 33773.

  9.    According to the Property Appraiser Record, Defendant E.N.M. FAMILY

        HOLDINGS, INC. (“Defendant”) owns or operates a place of public accommodation

        as defined by the ADA and the regulations implementing the ADA, 28 C.F.R. 36.201(a)

        and 36.104, located at 10625 117th Drive N., Largo, Florida 33773.

  10.   According to public records, Defendant TASTE OF PUNJAB INDIAN CUISINE,

        INC. (“Defendant”) owns or operates a place of public accommodation as defined by

        the ADA and the regulations implementing the ADA, 28 C.F.R. 36.201(a) and 36.104,

        located at 10625 117th Drive N., Largo, Florida 33773.



                                             3
Case 8:20-cv-00162-MSS-AAS Document 1 Filed 01/22/20 Page 4 of 15 PageID 4



  11.   Defendant LEMPIDAKIS FAMILY ENTERPRISES LTD (“Defendant”) conducts

        and transacts business under the laws of the state of Florida, and otherwise operates

        within the jurisdiction of this Court. Defendant is the owner, lessee, lessor or operator

        of commercial property and improvements, which is a place of public accommodation

        as defined by the ADA and the regulations implementing the ADA, 28 C.F.R. 36.201(a)

        and 36.104, commonly known as the TASTE OF PUNJAB INDIAN CUISINE, located

        at 10625 117th Drive N., Largo FL 33773 (hereinafter “Restaurant”).

  12.   Defendant E.N.M. FAMILY HOLDINGS, INC. (“Defendant”) conducts and transacts

        business under the laws of the state of Florida, and otherwise operates within the

        jurisdiction of this Court. Defendant is the owner, lessee, lessor or operator of

        commercial property and improvements, which is a place of public accommodation as

        defined by the ADA and the regulations implementing the ADA, 28 C.F.R. 36.201(a)

        and 36.104, commonly known as the TASTE OF PUNJAB INDIAN CUISINE, located

        at 10625 117th Drive N., Largo FL 33773 (hereinafter “Restaurant”).

  13.   Defendant TASTE OF PUNJAB INDIAN CUISINE, INC. (“Defendant”) conducts and

        transacts business under the laws of the state of Florida, and otherwise operates within

        the jurisdiction of this Court. Defendant is the owner, lessee, lessor or operator of

        commercial property and improvements, which is a place of public accommodation as

        defined by the ADA and the regulations implementing the ADA, 28 C.F.R. 36.201(a)

        and 36.104, commonly known as the TASTE OF PUNJAB INDIAN CUISINE, located

        at 10625 117th Drive N., Largo FL 33773 (hereinafter “Restaurant”).




                                              4
Case 8:20-cv-00162-MSS-AAS Document 1 Filed 01/22/20 Page 5 of 15 PageID 5



  14.   Defendants LEMPIDAKIS FAMILY ENTERPRISES LTD, E.N.M. FAMILY

        HOLDINGS, INC., and TASTE OF PUNJAB INDIAN CUISINE, INC., are jointly

        and severally liable.

  15.   Plaintiff has retained undersigned counsel and law firm to commence and prosecute

        this action to stop marginalization of disabled or qualified disabled persons committed

        by Defendant under the ADA. Pursuant to 42 U.S.C. § 12205 and 28 C.F.R. 36.505,

        Plaintiff is entitled to immediate temporary and permanent injunctive relief to prevent

        the present, continued, and future discrimination and discriminatory practices so

        evidenced by Defendants and the Restaurant as further described hereinafter,

        reasonable attorney’s fees, costs and litigation expenses.

                                        BACKGROUND

  16.   Defendants’ Restaurant is a place of public accommodation as defined by the ADA

        because it is, or is part of, a place of exhibition, entertainment, sales, rental, or eating

        establishment. The Restaurant allows the general public access to partake of food and

        beverages. As such, the subject Restaurant is a sales establishment, which is a place of

        public accommodation pursuant to 42 U.S.C. §12181 and must comply with the ADA.

        This means it must not discriminate against individuals with disabilities and may not

        deny full and equal enjoyment of the services afforded to the general public and the

        Defendants have subjected themselves to the ADA.

  17.   In   addition    to     Title   III’s   prohibition    of    denial-of-participation,    no

        public accommodations may “afford an individual or class of individuals, on the basis

        of disability … directly, or through contractual licensing, or other arrangements with

        the opportunity to participate in or benefit from a good, service, facility, privilege,



                                                5
Case 8:20-cv-00162-MSS-AAS Document 1 Filed 01/22/20 Page 6 of 15 PageID 6



        advantage, or accommodation that is not equal to that afforded to other individuals.” 42

        U.S.C. § 12182(b)(1)(A)(ii).

  18.   The broad mandate of the ADA is to provide an equal opportunity for individuals with

        disabilities to participate in and benefit from all aspects of American civic and

        economic life.     That mandate extends to restaurants, such as the Defendants’

        establishment.

  19.   The ADA is the industry standard adopted by major companies and governmental

        agencies to ensure their establishments are accessible to disabled persons; the

        guidelines are readily achievable. These guidelines are readily available via the internet

        so that a business designing an establishment can easily access the standards and

        provide several basic components to incorporate into the Restaurant so that persons

        with disability may have accessibility.

  20.   Pursuant to Title III, “[n]o individual shall be discriminated against on the basis

        of disability in the full and equal enjoyment of the goods, services, facilities, privileges,

        advantages, or accommodations of any place of public accommodation by any person

        who owns, leases (or leases to), or operated a place of public accommodation.” 42

        U.S.C. § 12182(a).

  21.   Public accommodations are prohibited from subjecting “an individual or class

        of individuals on the basis of a disability … directly, or through contractual, licensing,

        or other arrangements, to a denial of the opportunity of the individual or class to

        participate in or benefit from the goods, services, facilities, privileges, advantages, or

        accommodations of an entity.” 42 U.S.C. § 12182(b)(1)(A)(i).




                                               6
Case 8:20-cv-00162-MSS-AAS Document 1 Filed 01/22/20 Page 7 of 15 PageID 7



  22.   Defendants are obligated to comply with 42. U.S.C. § 12182(b)(2)(A)(ii), which

        defines discrimination as “a failure to make reasonable modifications in policies,

        practices, or procedures, when such modifications are necessary to afford such goods,

        services, facilities, privileges, advantages, or accommodations to individuals with

        disabilities[.]”

  23.   Separate is not equal and discrimination includes “a failure to take such steps as may

        be necessary to ensure that no individual with a disability is excluded, denied services,

        segregated or otherwise treated differently than other individuals because of the

        absence of auxiliary aids and services[.]” 42 U.S.C. § 12182(b)(2)(A)(iii). Defendants’

        disparate treatment of persons who are not disabled or not qualified disabled, from

        persons who are disabled or qualified disabled, violate Federal law, and such

        discrimination must cease.

                              COUNT I – INJUNCTIVE RELIEF

  24.   Plaintiff realleges paragraphs 1 through 23 as if fully set forth herein.

  25.   Defendants own and operate, either itself or through third parties, a Restaurant open to

        the general public. The Restaurant allows members of the public to partake of the

        goods,    services,    features,   facilities,   benefits,   advantages,    amenities   and

        accommodations of the Restaurant.

  26.   Defendants failed to comply with ADA criteria in violation of general prohibition

        against discrimination for individuals with disabilities and the specific requirement(s)

        concerning public accommodations including, but not limited to the following

        (Plaintiff anticipates additional ADA violations, including but not limited to the men’s

        room, will be disclosed during the discovery process):



                                                7
Case 8:20-cv-00162-MSS-AAS Document 1 Filed 01/22/20 Page 8 of 15 PageID 8



       a) parking lot is rough and uneven, posing a tripping hazard when using Plaintiff’s

       ambulating devices; and

       b) paint marking the handicapped space is faded, illegible, or missing, which

       effectively eliminates handicapped parking places; and

       c) handicapped parking signage impermissibly imposes restrictions, thereby

       prohibiting disabled persons from usage of same; and

       d) accessible parking fails to have “van accessible” signage, which is required by law;

       and

       e) parking lot ramp is too steep and built up, without proper cut in, which creates an

       unnecessary barrier for Plaintiff when using her mobility devices; and

       f) non-compliant route from the public access to the Restaurant; and

       g) check-out countertop is too high in violation of the ADA, thereby impermissibly

       creating a barrier for Plaintiff; and

       h) door knob on main bathroom door requires twisting and turning to operate. Plaintiff

       has arthritis in her hands and wrists which prevents her from gripping or twisting the

       door knob, thus impairing her ability to utilize the bathroom; and

       i) handicapped accessible bathroom has unequal, non-uniform width grab bars, thus

       creating a barrier for Plaintiff from transferring to and from the toilet seat; and

       j) the only sink is completely enclosed, which blocks access thereto with Plaintiff’s

       mobility devices; and

       k) paper towel dispenser is too high to reach from mobility devices; and

       l) no ADA accessible seating at the Restaurant, thus creating an unnecessary barrier

       for Plaintiff from enjoying the full amenities of the establishment; and



                                               8
Case 8:20-cv-00162-MSS-AAS Document 1 Filed 01/22/20 Page 9 of 15 PageID 9



        m) coat/purse hook on door of handicap stall is too high to reach from Plaintiff’s

        mobility devices; and

        n) no complaint seating in the restaurant main floor which limits Plaintiff’s seating

        when using mobility devices.

  27.   On or about January 17, 2020, Plaintiff patronized the Defendants’ Restaurant and

        encountered the above listed barriers, which impeded her ability to enjoy and partake

        of the amenities in the same manner as an able-bodied person. See attached Composite

        Exhibit “A”.

  28.   Plaintiff encountered barriers with Defendants’ Restaurant in violation of the ADA as

        set forth above, which inhibited Plaintiff from patronizing Defendants’ establishment

        and has otherwise deterred Plaintiff from being able to use and enjoy Defendants’

        public accommodations in the same manner as non-disabled individuals. The

        inaccessibility of Defendants’ Restaurant has caused Plaintiff undue burden and

        hardship. Alterations to Defendants’ Restaurant are readily achievable. At the time of

        the commencement of this action, the Defendants’ Restaurant lacked complete

        compliance with the ADA.

  29.   Within ninety (90) days from the service of the Complaint, Plaintiff will revisit the

        Restaurant to ensure compliance with the ADA and 28 C.F.R. § 36.302(e) and will use

        the Restaurant and otherwise avail herself of the goods, services, features, facilities,

        benefits, advantages, amenities, and accommodations at the Restaurant, provided the

        barriers have been removed.




                                             9
Case 8:20-cv-00162-MSS-AAS Document 1 Filed 01/22/20 Page 10 of 15 PageID 10



   30.   Plaintiff is continuously aware that the subject Restaurant remains non-compliant and

         that it would be a futile gesture to revisit the Restaurant as long as those violations exist

         unless she is willing to suffer additional discrimination.

   31.   Once Defendants comply with the ADA, Plaintiff will be able to enjoy the

         accommodations that suits her needs in the same manner as able bodied individuals,

         which is the purpose of the ADA.

   32.   The violations present at the Defendants’ Restaurant infringe upon Plaintiff’s right to

         travel free from discrimination.

   33.   Plaintiff continues to desire to patronize the Defendants’ Restaurant, but is unable to

         do so until the barriers are removed, thus will continue to suffer irreparable injury from

         the Defendants’ intentional acts, policies, and practices set forth herein unless enjoined

         by this Honorable Court.

   34.   Plaintiff has suffered and continues to suffer frustration and humiliation as the result of

         the discriminatory conditions at the Defendants’ Restaurant. By continuing to operate

         a Restaurant with discriminatory conditions, Defendants contribute to Plaintiff’s sense

         of isolation and segregation, and deprives the Plaintiff of full and equal enjoyment of

         the goods, services, facilities, privileges and accommodations available to the general

         public. By encountering the discriminatory conditions at Defendants’ Restaurant, and

         knowing it would be futile to return to the Restaurant unless she is willing to endure

         additional discrimination, Plaintiff is deprived of the same advantages, privileges,

         goods, services, amenities, and benefits readily available to the general public.

   35.   By maintaining a Restaurant with ADA violations, Defendants deprive Plaintiff of the

         equality of opportunity offered to the general public.



                                                10
Case 8:20-cv-00162-MSS-AAS Document 1 Filed 01/22/20 Page 11 of 15 PageID 11



   36.   The Defendants’ Restaurant did not offer adequate amenities to permit a disabled

         person such as Plaintiff with mobility impairments to use and navigate the Restaurant

         in an effective manner as set out above.

   37.   When Restaurants impose barriers like Defendants’, mobility impaired users, such as

         Plaintiff, are excluded from the content and services available.

   38.   Plaintiff has suffered and will continue to suffer direct and indirect injury as a result of

         Defendants’ discrimination until the Defendant is compelled to modify its Restaurant

         to comply with the requirements of the ADA and to continually monitor and ensure

         that the subject Restaurant remain in compliance.

   39.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination from

         the Defendants’ non-compliance with the ADA with respect to the Restaurant and has

         reasonable grounds to believe she will continue to be subjected to discrimination in

         violation of the ADA by the Defendants.

   40.   Because of Defendants’ denial of full and equal access to, enjoyment of,

         and communication with, its goods, services, facilities, privileges, advantages, and

         accommodations, Plaintiff and others similarly situated has suffered, and continues to

         suffer, an injury in fact, which is concrete and particularized, present, actual and a direct

         result of Defendants’ conduct or omission.

   41.   The Defendants’ have discriminated against the Plaintiff by denying her access to, and

         full and equal enjoyment of, the goods, services, facilities, privileges, amenities,

         advantages and accommodations of the Restaurant.




                                                11
Case 8:20-cv-00162-MSS-AAS Document 1 Filed 01/22/20 Page 12 of 15 PageID 12



   42.   The Plaintiff and all others similarly situated will continue to suffer such

         discrimination, injury and damage without the immediate relief provided by the ADA

         as requested herein.

   43.   Defendants have discriminated against the Plaintiff by denying her access to full and

         equal enjoyment of the goods, services, facilities, privileges, amenities, advantages and

         accommodations of its place of public accommodation or commercial facility in

         violation of 42 U.S.C. § 12181, et seq., and 28 C.F.R. § 36.302(e). Furthermore, the

         Defendants continue to discriminate against the Plaintiff, and all those similarly

         situated, by failing to make reasonable modifications in policies, practices, or

         procedures, when such modifications are necessary to afford all offered goods,

         services, privileges, facilities, amenities, advantages and accommodations to

         individuals with disabilities; and by failing to take such efforts that may be necessary

         to ensure that no individual with a disability is excluded, denied services, segregated

         or otherwise treated differently than other individuals because of the absence of

         auxiliary aids and services.

   44.   Because Plaintiff has no contractual relationship with the Defendants and because she

         is not entitled to damages from Defendants, Plaintiff is without adequate remedy at law

         and is suffering irreparable harm. Plaintiff and others will continue to suffer irreparable

         injury from Defendants’ intentional acts, policies, and practices set forth herein unless

         enjoined by the court. Plaintiff has no plain, adequate, or complete remedy at law to

         redress the wrongs alleged herein and this suit for and injunctive relief is the only means

         to secure adequate redress from the Defendants’ unlawful and discriminatory practices.




                                               12
Case 8:20-cv-00162-MSS-AAS Document 1 Filed 01/22/20 Page 13 of 15 PageID 13



   45.   As a result of the inaccessibility of the Defendants’ Restaurant and by the barriers to

         access its Restaurant, the Defendants have denied individuals with disabilities who are

         mobility impaired full and equal enjoyment of the information and services that the

         Defendants have made available to the general public in its Restaurant in derogation of

         42 U.S.C. sec. 12101 et seq., and as prohibited by 42 U.S.C. sec. 12182 et. seq.

   46.   The Defendants have violated the ADA (and continue to do so) by denying access to

         its Restaurant to individuals with disabilities who are mobility impaired. These

         violations within the Restaurant are ongoing, and removal of the barriers are readily

         achievable.

   47.   Defendants use standards, criteria or methods of administration that have a

         chilling effect, discriminatory effect, or perpetration of discrimination on the Plaintiff

         and a protected class of citizens.

   48.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff’s

         request for injunctive relief, including an order to require the Defendants to alter the

         subject Restaurant to make it readily accessible and useable to the Plaintiff and all those

         other persons with disabilities as defined by the ADA and 28 C.F.R. § 36.302(e); or by

         closing the Restaurant until such time as the Defendants cure its violations of the ADA.

   49.   As a result of the Defendants’ inadequate development and administration of the

         Restaurant, Plaintiff is entitled to injunctive relief pursuant to 42 U.S.C. sec. 12133 to

         remedy the discrimination.

   50.   Pre-suit notice to the Defendants of the Defendants’ violations of ADA is not required

         pursuant to the ADA.




                                               13
Case 8:20-cv-00162-MSS-AAS Document 1 Filed 01/22/20 Page 14 of 15 PageID 14



    51.      Any and all conditions precedent to the action have been fulfilled, performed, or

             waived; specifically, on or before January 22, 2020, the undersigned performed a

             diligent search of online public records, and according to those records, the Defendants

             have not registered for remediation nor have been sued for violations described herein.

    52.      Pursuant to 42 U.S.C. sec. 12188, this Court is vested with the authority to grant

             Plaintiff injunctive relief; including an Order to:

             a. Require Defendants to remove all readily achievable barriers to comply with the

                 ADA, and

             b. Require Defendants to cease and desist discriminatory practices and if necessary,

                 to cease and desist operations of the Restaurant until the requisite modifications are

                 made such that its Restaurant becomes equally accessible to persons with

                 disabilities.

          WHEREFORE Plaintiff demands judgment against Defendants and requests the following

injunctive relief:

          a) The Court enter an Order granting temporary, preliminary and permanent injunction

             prohibiting Defendants from operating its Restaurant without adequate accommodation

             for the mobility impaired;

          b) The Court enter an Order requiring Defendants to update its Restaurant to remove

             barriers in order that the individuals with mobility disabilities can access the Restaurant

             and facilities to the full extent required by the Title III if the ADA;

          c) The Court enter an Order requiring Defendants to clearly display the universal disabled

             logo within its Restaurant, wherein the logo would lead to ADA compliant amenities

             which would state Defendants’ accessibility information, facts, policies, and



                                                   14
Case 8:20-cv-00162-MSS-AAS Document 1 Filed 01/22/20 Page 15 of 15 PageID 15



          accommodations. Such a clear display of the disabled logo is to ensure that individuals

          who are disabled are aware of the availability of the accessible features of Restaurant;

       d) The Court enter an Order requiring Defendants to provide ongoing support for ADA

          accessibility by implementing an ADA accessibility policy, and providing for ADA

          accessibility feedback to ensure compliance thereto;

       e) The Court enter an Order directing Defendants to evaluate its policies, practices, and

          procedures toward persons with disabilities, for such reasonable time so as to allow the

          defendants to undertake and complete corrective procedures to the Restaurant;

       f) The Court award reasonable attorney’s fees, all costs, (including but not limited to court

          costs and expert fees), and other expenses of suit, to the Plaintiff; and

       g) That the Court award such other and further relief as it deems necessary, just and

          proper.


Dated: January 22, 2020.
                                      Respectfully submitted,

                                      MCDONALD & MINCE, PLLC

                                      __/s/ Layla K. McDonald, Esq______________
                                      Layla K. McDonald, Esq. / FBN: 11308
                                      Email: lmcdonald@mcdonaldandmincelaw.com
                                      Tel: 727-277-8234
                                      Melissa GilkeyMince, Esq. / FBN: 546230
                                      Email: mmince@mcdonaldandmincelaw.com
                                      Tel: 727- 488-1988
                                      801 West Bay Drive, Suite 113
                                      Largo, Florida 33770
                                      Secondary Email: eserve@mcdonaldandmincelaw.com




                                                15
